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GASD l-irsl Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B)     i\ige 1 of 2(Page 2 Not.Fpr Public Disclosure)

                                        United States District Court

                                                     Southern District of Georgia                                                   AMI|:39
                                                                  Augusta Division                           CLERK
                    United States of America
                                   V.                                       )
                                                                            ) Case No:           1:14CR00030-]
                         Johnny Lee Weaver                                  )                          " "
                                                    ) USM No: 18852-021
Date of Original Judgment:         December 4, 2014 )
Date of Previous Amended Judgment: _N/A             ^ Davidjylitchell Stewart
(Use Date ofLast Amended Judgment ifAny)                                         Defendant's Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                         PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

        Upon motion of ^ the defendant □ the Director of the Bureau of Prisons D the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          ^ DENIED.            □ GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of                                              months is reduced to




Except as otherwise provided, all provisions of the judgment dated                        DecembgrA, 2014       shalLremain in effect.
IT IS SO ORDERED.


Order Date:
                                                                                                             signature


Effective Date:                                                       J. RandaLtiaHfChief Judge
                                                                      United States District Court
                                                                      Southern District of Georgia
